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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



 STATE OF NEW YORK, et al.,

                               Plaintiffs,

                          v.
                                                            25-CV-01144 (JAV)
 DONALD J. TRUMP, in his
 official capacity as President of
 the United States, et al.,

                               Defendants.



 UNOPPOSED MOTION OF AMICI CURIAE FORMER TREASURY DEPARTMENT
    OFFICIALS FOR LEAVE TO FILE AN AMICUS BRIEF IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


       Amici curiae, a group of former Treasury Department officials, respectfully request leave

to file the attached proposed amicus brief in support of Plaintiffs’ motion for a preliminary

injunction (Exhibit A). Amici also submit a proposed order (Exhibit B). Plaintiffs have consented

to the filing of this brief. Defendants have stated that they take no position on this motion. In

support of this motion, amici state as follows:

       Amici are ten former United States Treasury officials with substantial experience and

knowledge concerning the Bureau of Fiscal Services (“BFS”) payment systems at issue in this

action. Amici have been following with great interest and concern recent public reports about

efforts by the “Department of Government Efficiency” (“DOGE”) to gain access to BFS payment

systems.

       Amici’s practical experience with BFS provides them with “unique information or

perspective that can help the court beyond the help that the lawyers for the parties are able to
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provide.” Auto. Club of N.Y., Inc. v. Port Auth. of N.Y. & N.J., 2011 WL 5865296, at *2 (S.D.N.Y.

Nov. 22, 2011) (quotations omitted). Amici have years of experience with BFS, and, as detailed

further in the proposed amicus brief, they have an informed perspective on the unique role that

BFS plays and the threats posed by Defendants’ conduct. The proposed amicus brief will therefore

assist the Court in assessing Plaintiffs’ motion for a preliminary injunction. Yesterday, the District

Court for the District of Columbia granted amici leave to file a similar brief in a similar challenge

to DOGE’s attempt to gain access to BFS payment systems. See Order, All. for Retired Americans

v. Bessent, No. 25-cv-313 (D.D.C. Feb. 12, 2025), ECF No. 22.

                                          CONCLUSION

         For the foregoing reasons, the Court should grant amici leave to file their proposed amicus

brief.

Date: February 13, 2025


                                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2025, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will provide electronic notice and an

electronic link to this document to all attorneys of record.

                                                      /s/ Gregory L. Diskant
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